908 F.2d 968Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Donnie W. SATTERFIELD, Petitioner,v.GREGORY COAL COMPANY, Respondent.
    No. 90-2310.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  June 4, 1990.Decided:  June 20, 1990.
    
      On Petition for Review of an Order of the Benefits Review Board.  (88-1423-BLA, sbe-qr-mknu.
      Donnie W. Satterfield, appellant pro se.
      Mark Elliott Solomons, Laura Metcoff Klaus, Arter &amp; Hadden, Washington, D.C.;    Sylvia Theresa Kaser, Rodger Pitcairn, United States Department of Labor, Washington, D.C., for appellees.
      Ben.Rev.Bd.
      AFFIRMED.
      Before ERVIN, Chief Judge, and CHAPMAN and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Donnie W. Satterfield seeks review of the Benefits Review Board's decision and order affirming the administrative law judge's denial of black lung benefits pursuant to 30 U.S.C. Secs. 901 et seq.    Our review of the record and the Board's decision and order discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the Board.  Satterfield v. Gregory Coal Co., Nos. 88-1423-BLA, jbp-fm-babh(Benefits Review Board Nov. 22, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    